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        U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                        ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.


In the Matter of                                                   CASE NUMBER: 20 C 6911

Benjamin George

                    v.

City of Chicago, et al.

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Peter Palka, Daniel Smith, Thomas Bilos, Joseph Ferrara

NAME (Type or print)
Emily R. Bammel
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
/s/ Emily R. Bammel
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ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                            YES           NO

ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                           YES            NO

ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR?                             YES           NO

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?
                                                    YES      NO

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.
RETAINED COUNSEL            APPOINTED COUNSEL
